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Western District of Tennessee USJUN__E PH 5_00

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VS. Case Numbers :97CR20234~Ol-Ml
:97CR20235-Ol-Ml
:97CR20236-Ol-Ml
:97CR20237-01~Ml

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Defendant.

:97CR20239-Ol-M1
:97CR20240-01“M1
:97CR2024l-01-Ml

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Eddie D. Jeter, was represented by Jacob Erwin, Esq.

It appearing that the defendant, who was convicted on February ll, 2000 in the above
styled cases and was placed on Supervised Release for a period of three (5) years, has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of seventeen (17) months. Each above indicated
case is to be served concurrently each other and concurrent with case 2:05CR20014-01 for
a total term of incarceration of seventeen (17) months.

lt is recommended to the Bureau of Prisons that the defendant be incarcerated at
a facility in Memphisr TN area.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release. All restitution and other monetary penalties remain as previously imposed.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

Signea this the LH day of June, 2005.

 

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 09/04/1946

U.S. Marshal No.: 16203-076

Defendant's Mailinq Address: 305 South Bellevue, #1006, Memphis, TN 38104

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Notice of Distribution

This notice confirms a copy of the document docketed as number 172 in
case 2:97-CR-20238 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable J on McCalla
US DISTRICT COURT

